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        ATTACHMENT 15
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Lau, Albie

From:                          ECF-CAND@cand.uscourts.gov
Sent:                          Tuesday, January 29, 2013 12:36 PM
To:                            efiling@cand.uscourts.gov
Subject:                       Activity in Case 3:07-cv-05944-SC MDL No. 1917 In Re: Cathode Ray Tube (CRT)
                               Antitrust Litigation Order Adopting Report and Recommendations



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Case Name:           MDL No. 1917 In Re: Cathode Ray Tube (CRT) Antitrust Litigation
Case Number:         3:07-cv-05944-SC
Filer:
Document Number: 1543

Docket Text:
ORDER ADOPTING [1415] Special Masters Report and Recommendation Regarding the
Toshiba Defendants' Motion to Compel Arbitration, DENYING [1475] Motion for Leave to File,
filed by Costco Wholesale Corporation, GRANTING IN PART [1332] Motion to Compel, filed by
Toshiba Corporation, Toshiba America Electronics Components, Inc, Toshiba America
Consumer Products, LLC, Toshiba America, Inc, Toshiba America Information Systems, Inc.,
GRANTING IN PART [1461] Motion to Partly Adopt the Special Master's Report and
Recommendation, filed by Toshiba Corporation, Toshiba America Electronics Components,
Inc, Toshiba America Consumer Products, LLC, Toshiba America, Inc, Toshiba America
Information Systems, Inc. Signed by Judge Samuel Conti on 1/28/2013. (sclc2, COURT STAFF)
(Filed on 1/28/2013)


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[0372558abfae3a6563e6d07b907d2457f4a4ac7d81377bc45114dc53c76667e3ae25c
9b16d80a6508f3b84d9a18ad7dd128d70ffec2031f617402eb51df52e72]]




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